 Case 20-00662-jw      Doc 73     Filed 07/09/20 Entered 07/10/20 00:35:02      Desc Imaged
                                Certificate of Notice Page 1 of 3
                                  U.S. BANKRUPTCY COURT
                                    District of South Carolina

Case Number: 20-00662-jw



                                 Order Continuing Sale Hearing



The relief set forth on the following pages, for a total of 2 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           07/07/2020




                                                   US Bankruptcy Judge
                                                   District of South Carolina



        Entered: 07/07/2020
Case 20-00662-jw       Doc 73     Filed 07/09/20 Entered 07/10/20 00:35:02                 Desc Imaged
                                Certificate of Notice Page 2 of 3


                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA

   In re:
                                                          Chapter 11
   Watertech Holdings, LLC.,
                                                          Case No. 20-00662-jw
                           Debtor.


                              ORDER CONTINUING SALE HEARING

            THIS MATTER is before the Court on the Motion for Order Authorizing the Sale of Assets

   of the Debtor Free and Clear of Liens, Claims, Encumbrances, and Other Interests Pursuant to 11

   U.S.C. § 363 (the ³Sale Motion´ ILOHG by Watertech Holdings, LLC (³Debtor´). Debtor¶s Sale

   Motion was scheduled it be heard on July 8, 2020. Notice has been provided to the Court that all

   necessary parties to this hearing cannot attend due to restrictions associated with COVID -19 found

   in the Amended Standing Order entered Tuesday, May 19, 2020 by Chief District Judge R. Bryan

   Harwell. It appearing that a continuance is necessary:

            IT IS HEREBY ORDERED that the hearing on Debtor¶s Sale Motion is continued to August

   5, 2020 at 1:00 PM in the J. Bratton Davis United States Bankruptcy Courthouse at 1100

   Laurel Street, Columbia, South Carolina.

            IT IS FURTHER ORDERED that any bids or objections to the Sale Motion presented

   outside the terms of the Consent Order Establishing Bidding and Other Procedures in Connection

   with the Sale of Assets of the Debtor and Granting Protections to the Proposed Purchaser must be

   filed and presented to counsel for the Debtor on or before 10:30 AM on July 8, 2020. Nothing in

   this Order will prevent or restrict parties in interest from objecting to any late filed bids.

   AND IT IS SO ORDERED.




                                                      1
        Case 20-00662-jw             Doc 73      Filed 07/09/20 Entered 07/10/20 00:35:02                          Desc Imaged
                                               Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 20-00662-jw
Watertech Holdings, LLC                                                                                    Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 07, 2020
                                      Form ID: pdf01                     Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 09, 2020.
db             +Watertech Holdings, LLC,   Attn: Bob Fei,    4360 Corporate Road, Suite 100,
                 North Charleston, SC 29405-7439
intp           +Watertech Asset Acquisition Group, LLC,   Markham Law Firm, LLC,   c/o Markham Law Firm, LLC,
                 PO Box 20074,   Charleston, SC 29413-0074,    UNITED STATES 29413-0074

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 09, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 7, 2020 at the address(es) listed below:
              David C. Kimball   on behalf of Creditor     CleanStrike, LLC dkimball@robinsonbradshaw.com,
               WHappel@robinsonbradshaw.com,docketing@robinsonbradshaw.com
              Elisabetta G. Gasparini    on behalf of U.S. Trustee US Trustee’s Office
               elisabetta.g.gasparini@usdoj.gov
              G. William McCarthy, Jr.    on behalf of Debtor    Watertech Holdings, LLC
               bmccarthy@mccarthy-lawfirm.com, sstancil@mccarthy-lawfirm.com;sbeall@mccarthy-lawfirm.com
              George Barry Cauthen    on behalf of Creditor Collette Winters George.Cauthen@nelsonmullins.com,
               joan.kishline@nelsonmullins.com;linnea.hann@nelsonmullins.com;Paul.Collins@nelsonmullins.com;step
               hanie.arnold@nelsonmullins.com;graham.mitchell@nelsonmullins.com
              J. Ronald Jones, Jr.    on behalf of Creditor Malcolm Fages rjones@smithdebnamlaw.com,
               cpatrick@smithdebnamlaw.com
              J. Ronald Jones, Jr.    on behalf of Creditor Kenneth E. Metzger rjones@smithdebnamlaw.com,
               cpatrick@smithdebnamlaw.com
              J. Ronald Jones, Jr.    on behalf of Creditor Rick M. Crosby rjones@smithdebnamlaw.com,
               cpatrick@smithdebnamlaw.com
              J. Ronald Jones, Jr.    on behalf of Creditor Dennis A. Avery rjones@smithdebnamlaw.com,
               cpatrick@smithdebnamlaw.com
              Sean P. Markham   on behalf of Interested Party     Watertech Asset Acquisition Group, LLC
               smarkham@markhamlawsc.com, 3012@notices.nextchapterbk.com
              US Trustee’s Office     USTPRegion04.CO.ECF@usdoj.gov
              William Harrison Penn    on behalf of Debtor    Watertech Holdings, LLC hpenn@mccarthy-lawfirm.com,
               sstancil@mccarthy-lawfirm.com
                                                                                              TOTAL: 11
